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 1                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
 2                                   SAN FRANCISCO DIVISION

 3   In re: CATHODE RAY TUBE (CRT)                             Master File No. 07-5944 SC
     ANTITRUST LITIGATION
 4
                                                               MDL No. 1917
 5   This Document Relates to:
 6   Sharp Elecs. Corp. v. Hitachi, Ltd., No. 13-cv-
     01173;
 7
     Electrograph Systems, Inc. et al. v. Technicolor SA,
 8   et al., No. 13-cv-05724;                                  [PROPOSED] ORDER DENYING
                                                               THOMSON CONSUMER’S
 9   Siegel v. Technicolor SA, et al., No. 13-cv-05261;        MOTION FOR SUMMARY
                                                               JUDGMENT AND PARTIAL
10   Best Buy Co., Inc. v. Technicolor SA, et al., No. 13-     SUMMARY JUDGMENT
     cv-05264;
11
     Interbond Corporation of America v. Technicolor
12   SA, et al., No. 13-cv-05727;                              The Honorable Samuel Conti

13   Office Depot, Inc. v. Technicolor SA, et al., No. 13-
     cv-05726;
14
     Costco Wholesale Corporation v. Technicolor SA, et
15   al., No. 13-cv-05723;
16   P.C. Richard & Son Long Island Corporation, et al.
     v. Technicolor SA, et al., No. 13-cv-05725
17
     Schultze Agency Services, LLC, o/b/o Tweeter Opco,
18   LLC, et al. v. Technicolor SA, Ltd., et al., No. 13-cv-
     05668;
19

20   Sears, Roebuck and Co. and Kmart Corp. v.
     Technicolor SA, No. 3:13-cv-05262;
21

22   Target Corp. v. Technicolor SA, et al., No. 13-cv-
     05686;
23
     Tech Data Corp., et al. v. Hitachi, Ltd., et al., No.
24   13-cv-00157;
25   Viewsonic Corp. v. Chunghwa Picture Tubes, Ltd.,
     No. 14-cv-02510.
26

27           Upon consideration of Thomson Consumer’s Motion for Summary Judgment and Partial
28
          PROPOSED ORDER DENYING THOMSON CONSUMER’S MOTION FOR SUMMARY JUDGMENT
                                        Master File No. 3:07-cv-5944 SC
     3473931v1/012325
